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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA, )

Plaintiff,
v. Case No. CR-18-227-SLP
JOSEPH MALDONADO-PASSAGE,

Defendant. 5

VERDICT
We, the jury, duly empaneled and sworn in the above-entitled cause, upon our oaths

find DEFENDANT JOSEPH MALDONADO-PASSAGE as follows:

COUNT 1 — alleged use of interstate commerce facilities in the commission of
murder-for-hire, in violation of 18 U.S.C. § 1958(a):

Not Guilty

Guilty yX

COUNT 2 — alleged use of interstate commerce facilities in the commission of

murder-for-hire, in violation of 18 U.S.C. § 1958(a):

Not Guilty

Guilty ”
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COUNT 3 — alleged violation of the Endangered Species Act by illegal taking, in

violation of 16 U.S.C. § 1538(a)(1)(B):
Not Guilty

Guilty XK

COUNT 4 — alleged violation of the Endangered Species Act by illegal taking, in

violation of 16 U.S.C. § 1538(a)(1)(B):
Not Guilty

Guilty x

COUNT 5 - alleged violation of the Endangered Species Act by illegal taking, in

violation of 16 U.S.C. § 1538(a)(1)(B):
Not Guilty

Guilty y

COUNT 6 - alleged violation of the Endangered Species Act by illegal taking, in

violation of 16 U.S.C. § 1538(a)(1)(B):

Not Guilty

Guilty 2
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COUNT 7 — alleged violation of the Endangered Species Act by illegal taking, in

violation of 16 U.S.C. § 1538(a)(1)(B):

Not Guilty

Guilty x

COUNT 8 - alleged violation of the Endangered Species Act by illegal offering for
sale, in violation of 16 U.S.C. § 1538(a)(1)(F):

Not Guilty

Guilty x

COUNT 9 — alleged violation of the Endangered Species Act by illegal sale, in
violation of 16 U.S.C. § 1538(a)(1)(F):

Not Guilty

Guilty x

COUNT 10 — alleged violation of the Endangered Species Act by illegal sale, in

violation of 16 U.S.C. § 1538(a)(1)(F):

Not Guilty

Guilty \Z
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COUNT 11 — alleged violation of the Endangered Species Act by illegal sale, in

violation of 16 U.S.C. § 1538(a)(1)(F):
Not Guilty

Guilty is

COUNT 12 — alleged violation of the Lacey Act for false records of wildlife, in

violation of 16 U.S.C. § 3372(d)(2):

Not Guilty

Guilty Ke

COUNT 15 — alleged violation of the Lacey Act for false records of wildlife, in
violation of 16 U.S.C. § 3372(d)(2):

Not Guilty

Guilty pe

COUNT 16 — alleged violation of the Lacey Act for false records of wildlife, in

violation of 16 U.S.C. § 3372(d)(2):

Not Guilty

Guilty x
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COUNT 17 — alleged violation of the Lacey Act for false records of wildlife, in

violation of 16 U.S.C. § 3372(d)(2):

Not Guilty

Guilty x

COUNT 18 — alleged violation of the Lacey Act for false records of wildlife, in
violation of 16 U.S.C. § 3372(d)(2):

Not Guilty

Guilty iv

COUNT 19 — alleged violation of the Lacey Act for false records of wildlife, in
violation of 16 U.S.C. § 3372(d)(2):

Not Guilty

Guilty xX

COUNT 20 — alleged violation of the Lacey Act for false records of wildlife, in

violation of 16 U.S.C. § 3372(d)(2):

Not Guilty

Guilty A
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COUNT 21 — alleged violation of the Lacey Act for false records of wildlife, in
violation of 16 U.S.C. § 3372(d)(2):

Not Guilty

Guilty A

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DATE FOREPERSON C7

 

 
